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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-CV-02887-JLK-MEH

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA, and
  DEMETRIO VALERGA,
  on their own behalf and on behalf of others similarly situated,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.
  ______________________________________________________________________________

     ORDER REGARDING PLAINTFFS’ MOTION TO COMPEL AND STIPULATION OF
                   PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
  ______________________________________________________________________________

         This matter comes before me on Plaintiffs’ Motion to Compel (ECF No. 168) and the

  parties’ Stipulation Regarding Plaintiffs’ Motion to Compel Discovery (ECF No. 174). The

  Stipulation agreeing that, subject to the Protective Order entered on November 26, 2018 (ECF

  No. 157):

         1.      GEO will continue to comply with the Court’s Order entered on June 6, 2017

         (Dkt. No. 84). GEO does not waive its right to challenge the Court’s order or the

         applicability of U.S. ex rel. Touhy v. Ragen, 340 U.S. 462 (1951) on appeal;
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         2.      GEO is not currently withholding any documents or other discovery responses in

         this case at ICE’s request, or pursuant to GEO’s contract with ICE, or pending any other

         form of ICE review;

         3.      GEO will provide Plaintiffs with class list information in its possession no later

         than April 17, 2019;

         4.     Beginning May 3, 2019, and every thirty (30) days thereafter, GEO will produce a

         log of any documents responsive to Plaintiffs’ discovery requests that GEO has withheld

         or delayed at ICE’s request, or pursuant to GEO’s contract with ICE, or pending any

         other form of ICE review;

  the Stipulation is construed as a Motion to Withdraw the Motion to Compel (ECF No. 168) and

  is GRANTED. 1 Plaintiffs’ Motion to Compel is WITHDRAWN without prejudice to refile, and

  the Motion Hearing set for April 9, 2019, at 10:30 a.m. is VACATED.



         DATED this 3rd day of April, 2019

                                                       BY THE COURT:



                                                       _________________________________
                                                       JOHN L. KANE
                                                       SENIOR U.S. DISTRICT JUDGE




  1
   The parties are directed to familiarize themselves with the Local Rules regarding motion
  practice and proposed orders specifically. See, e.g., D.C.COLO.LCivR 7.1(g).
                                                  2
